                     Case 20-43800-elm11 Doc 2 Filed 12/17/20                                    Entered 12/17/20 16:48:58           Page 1 of 19




 Fill in this information to identify the case:

 Debtor name                   GL Brands, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                    O   Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING — Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                            Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:
                PIR4Eq3.4
        lqE1.111■




                             Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
                             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E1F)
                             Schedule G: Executory Contracts and Unexpired Leases (Official Form 2060)
                             Schedule H: Codebtors (Official Form 206H)
                             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                             Amended Schedule
                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured CI Ms and Are Not Insiders (Official Form 204)
                             Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on                  December 17, 2020               X /s/ Carlos Friag
                                                                       Signature of i dividu          ing on •ehalf of debtor

                                                                          Carlos Fria
                                                                          Printed name

                                                                          Chief Executive Officer
                                                                          Position or relationship to debtor




Official Form 202                                               Declaration Under Penalty of Perjury for Non-Individual Debtors

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                  Entered 12/17/20 16:48:58   Page 2 of 19
Fill in this information to identify the case:

Debtor name         GL Brands, Inc.

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                  O   Check if this is an
                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                  12/15

Part 1*     Summary of Assets


1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       la. Real property:
                                                                                                                                            0.00
           Copy line 88 from Schedule NB

      1 b. Total personal property:
                                                                                                                                     16,683.28
           Copy line 91A from Schedule A/B

      1 c. Total of all property:
                                                                                                                                     16,683.28
           Copy line 92 from Schedule A/B


Part 2:      Summary of Liabilities


2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                   260,240.00
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D


3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      3a. Total claim amounts of priority unsecured claims:                                                                                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F

      3b. Total amount of claims of nonpriority amount of unsecured claims:                                                    11,430,206.01
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F
                                                                                                                      +$



4.    Total liabilities                                                                                                      11,690,446.01
      Lines 2 + 3a + 3b




                                                       Summary of Assets and Liabilities for Non-Individuals                             page 1
 Official Form 206Sum
                                                                                                                            Best Case Bankruptcy
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                  Entered 12/17/20 16:48:58                   Page 3 of 19

 Fill in this information to identify the case:

 Debtor name         GL Brands, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number Of known)
                                                                                                                                O      Check if this is an
                                                                                                                                       amended filing




Official Form 206A1B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     0 No. Go to Part 2.
     • Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                 $236.95



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number

4.         Other cash equivalents (Identify all)


           4.1.    Investment in Green Lotus                                                                                                                 $1.00




5.         Total of Part 1.                                                                                                                         $237.95
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6 Does the debtor have any deposits or prepayments?

     0 No. Go to Part 3.
     • Yes Fill in the information below.

7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.    Retainers                                                                                                                        $10,000.00




Official Form 206A/B                                          Schedule NB Assets - Real and Personal Property                                                page 1
                                                                                                                                                 Best Case Bankruptcy
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                               Entered 12/17/20 16:48:58               Page 4 of 19

Debtor            GL Brands, Inc.                                                         Case number (If known)
                  Name



           8.2.     Deposit                                                                                                              $6,444.33




9.         Total of Part 2.                                                                                                        $16,444.33
           Add lines 7 through 8. Copy the total to line 81.

Part 3         Accounts receivable
10. Does the debtor have any accounts receivable?

     • No. Go to Part 4.
     El Yes Fill in the information below.


Part 4            Investments
13. Does the debtor own any investments?

     o No. Go to Part 5.
     • Yes Fill in the information below.

                                                                                                   Valuation method used     Current value of
                                                                                                   for current value         debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     ECS Labs, LLC                                               100%      %                                            Unknown



16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                               $0.00
           Add lines 14 through 16. Copy the total to line 83.

Part 5            Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     • No. Go to Part 6.
     O Yes Fill in the information below.


Part 6            Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     • No. Go to Part 7.
     0 Yes Fill in the information below.


Part 7.           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


     • No. Go to Part 8.
     0 Yes Fill in the information below.


Official Form 206A/B                                        Schedule NB Assets - Real and Personal Property                                   page 2
                                                                                                                                    Best Case Bankruptcy
Software Copyright (c) 1996-2020 Best Case, LLC www,bestcase.com
             Case 20-43800-elm11 Doc 2 Filed 12/17/20                               Entered 12/17/20 16:48:58               Page 5 of 19

 Debtor         GL Brands, Inc.                                                             Case number (If known)
                Name


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      • No. Go to Part 9.
      0 Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

      • No. Go to Part 10.
      0 Yes Fill in the information below.


Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     • No. Go to Part 11.
     • Yes Fill in the information below.

            General description                                             Net book value of       Valuation method used     Current value of
                                                                            debtor's interest       for current value         debtor's interest
                                                                            (Where available)

60.         Patents, copyrights, trademarks, and trade secrets

61          Internet domain names and websites
            https://gIbrands.com                                                      Unknown                                                   $0.00




62.         Licenses, franchises, and royalties

63.         Customer lists, mailing lists, or other compilations

64          Other intangibles, or intellectual property
            Intellectual property                                                         $0.00                                                 $1.00




65.         Goodwill


66.         Total of Part 10.                                                                                                                $1.00
            Add lines 60 through 65. Copy the total to line 89.

67.         Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            • No
            0 Yes

68          Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            • No
            0 Yes

69.         Has any of the property listed in Part 10 been appraised by a professional within the last year?
            • No
            0 Yes

Part 11:        All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


     • No. Go to Part 12.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                   page 3
Software Copyright (c) 1996-2020 Best Case, LLC www bestcase.com                                                                     Best Case Bankruptcy
             Case 20-43800-elm11 Doc 2 Filed 12/17/20                                 Entered 12/17/20 16:48:58        Page 6 of 19

 Debtor          GL Brands, Inc.                                                              Case number (If known)
                 Name

    0 Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                Entered 12/17/20 16:48:58               Page 7 of 19

Debtor         GL Brands, Inc.                                                             Case number (If known)
               Name


Part 12        Summary

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                           Current value of            Current value of real
                                                                                personal property           property

80.   Cash, cash equivalents, and financial assets.
      Copy line 5, Part 1                                                                     $237.95

81. Deposits and prepayments. Copy line 9, Part 2.                                         $16,444.33

82.   Accounts receivable. Copy line 12, Part 3.                                                $0.00

83.   Investments. Copy line 17, Part 4.                                                        $0.00

84.   Inventory. Copy line 23, Part 5.                                                          $0.00

85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00

86.   Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                                     $0.00

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                                 $0.00


88.   Real property. Copy line 56, Part 9                                                                                           $0.00


89.   Intangibles and intellectual property. Copy line 66, Part 10.                             $1.00

90.   All other assets. Copy line 78, Part 11.                                                  $0.00


91.   Total. Add lines 80 through 90 for each column                                    $16,683.28      + 91b.                      $0.00


92.   Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                     $16,683.28




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                    page 5

Software Copyright (c) 1996-2020 Best Case, LLC www.bestcase.com                                                                      Best Case Bankruptcy
              Case 20-43800-elm11 Doc 2 Filed 12/17/20                                         Entered 12/17/20 16:48:58                     Page 8 of 19

 Fill in this information to identify the case:

 Debtor name          GL Brands, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                           1:1 Check if this is an
                                                                                                                                                 amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       13 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

       • Yes. Fill in all of the information below.

 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
        Merida Capital Partners II
 2.1                                                                                                                          $260,240.00                $16,683.28
        LP                                            Describe debtor's property that is subject to a lien
        Creditor's Name                              7 Promissory Notes
        641 Lexington Ave. 18th
        Floor
        New York, NY 10022
        Creditor's mailing address                   Describe the lien
                                                      Promissory Note
                                                      Is the creditor an insider or related party?
                                                      ▪ No
        Creditors email address, if known             o Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        ▪ No
                                                      o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim Is:
        Interest in the same property?               Check all that apply
            No                                        o Contingent
        o Yes. Specify each creditor,                 o U n liquidated
        including this creditor and its relative      o Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $260,240.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part I. Examples of entitles that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed In Part 1, do not fill out or submit this page. If additional pages are needed, copy this pa ge.
        Name and address                                                                                      On which line In Part 1 did         Last 4 digits of
                                                                                                              you enter the related creditor?     account number for
                                                                                                                                                  this entity
         Kleinberg, Kaplan, Wolff & Cohen PC
         500 Fifth Avenue                                                                                      Line   2.1
         New York, NY 10110




Official Form 2060                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
              Case 20-43800-elm11 Doc 2 Filed 12/17/20                                       Entered 12/17/20 16:48:58                                Page 9 of 19
 Fill in this information to identify the case:

Debtor name          GL Brands, Inc.

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number Of known)
                                                                                                                                                    ID Check if this is an
                                                                                                                                                        amended filing


Official Form 206E1F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 In the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:       List All Creditors with PRIORITY Unsecured Claims

       I. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          •   No. Go to Part 2.

          0 Yes. Go to line 2.


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2
                                                                                                                                                        Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $125.00
           Accell Audit & Compliance, PA                                     0 Contingent
           4806 W. Gandy Blvd.                                               o Unliquidated
           Tampa, FL 33611                                                   El Disputed
           Date(s) debt was incurred     July 2020                           Basis for the claim:    Professional Fees
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? MI No 0 Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply .                     Unknown
           Admiral Insurance Company                                         0 Contingent
           1000 Howard Blvd., Suite 300                                      o Unliquidated
           Mount Laurel, NJ 08054                                            0 Disputed
           Date(s) debt was incurred _                                       Basis for the claim:    Insurance
           Last 4 digits of account number      8402
                                                                             Is the claim subject to offset? I No 0 Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,600,000.00
           Alexandro Frias                                                   0 Contingent
           14503 Islip Circle                                                o Unliquidated
           Apt. 12107                                                        0 Disputed
           Fort Worth, TX 76155
                                                                             Basis for the claim:    Employment Agreement
           Date(s) debt was incurred     5/31/2019
                                                                             Is the claim subject to offset?       No 0 Yes
           Last 4 digits of account number _

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim Is: Check all that apply .                     $5,000.00
           Ardor Investments                                                 0 Contingent
                                                                             O   Unliquidated
           Date(s) debt was incurred _                                        III Disputed
           Last 4 digits of account number _
                                                                             Basis for the claim:    Consulting Fee

                                                                             Is the claim subject to offset? •No 0 Yes




                                                              Schedule EIF: Creditors Who Have Unsecured Claims                                                          page 1 of 7
Official Form 206E1F
                                                                                                           49563                                                 Best Case Bankruptcy
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com
           Case 20-43800-elm11 Doc 2 Filed 12/17/20                                         Entered 12/17/20 16:48:58                               Page 10 of 19

Debtor       GL Brands, Inc.                                                                          Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,000.00
          Bemeir LLC                                                         0 Contingent
          159 20th Street, Suite 1B                                          0 Unliquidated
          Brooklyn, NY 11232                                                 0 Disputed
         Date(s) debt was Incurred       March 2020                          Basis for the claim:    IT Services
         Last 4 digits of account number_
                                                                             Is the claim subject to offset?   II No 0 Yes

3.6      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim Is: Checkall that apply.                 $5,230.96
         Bob Stein                                                           0 Contingent
         Saturn Systems                                                         Unliquidated
         PO Box 842                                                          0 Disputed
         Bailey, CO 80421
                                                                             Basis for the claim:    Office Lease
         Date(s) debt was incurred _
         Last 4 digits of account number_                                    Is the claim subject to offset?   II No 0 Yes

3.7      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim Is: Check all that apply.                $7,592.50
         Brunsun, Chandler & Jones                                           0 Contingent
         175 S. Main Street                                                  o Unliquidated
         14th Floor, Suite 1410                                              0 Disputed
         Salt Lake City, UT 84111
                                                                             Basis for the claim:    Professional Fees
         Date(s) debt was incurred _
         Last 4 digits of account number _                                   Is the claim subject to offset?   11 No 0 Yes

3.8      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $87,445.41
          BVP 3939 Belt Line LLC                                             O Contingent
          5740 Cedar Grove Circle                                            o Unliquidated
          Plano, TX 75093-8576                                               0 Disputed
          Date(s) debt was incurred _                                        Basis for the claim:    Addison Office Rental
          Last 4 digits of account number_
                                                                             Is the claim subject to offset?   III No 0 Yes

3.9       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,640.00
         California Franchise Tax Board                                      0 Contingent
         PO Box 942857                                                       o Unliquidated
         Sacramento, CA 94257-0500                                           0 Disputed
          Date(s) debt was incurred      2019-2020                           Basis for the claim:    Franchise Taxes
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? • No 0 Yes


3.10      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim Is: Check all that apply.           $2,400,000.00
          Carlos Frias                                                       0 Contingent
          1609 Raton Drive                                                   o Unliquidated
          Arlington, TX 76018                                                0 Disputed
          Date(s) debt was incurred      5.31.2019                           Basis for the claim:    Employment Agreement
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? • No      0 Yes

3.11      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim Is: Check all that apply .                     $0.00
          Carter, Terry & Company                                            0 Contingent
          cio Timothy Terry                                                  o Unliquidated
          3060 Peachtree Rd, Suite 1200                                      0 Disputed
          Atlanta, GA 30305
                                                                             Basis for the claim:    Settlement Agreement
          Date(s) debt was incurred _
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? • No      0 Yes




                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 7
Official Form 206 E/F
                                                                                                                                                           Best Case Bankruptcy
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com
           Case 20-43800-elm11 Doc 2 Filed 12/17/20                                         Entered 12/17/20 16:48:58                               Page 11 of 19

Debtor       GL Brands, Inc.                                                                           Case number Or known)
             Name

3.12      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $832.75
          Cox Communication                                                  El Contingent
          Cox Business                                                       El Unliquidated
          PO Box 53262                                                       O Disputed
          Phoenix, AZ 85072-3266
                                                                             Basis for the claim:    Cable TV
          Date(s) debt was Incurred _
          Last 4 digits of account number       9701                         Is the claim subject to offset?      No 0 Yes


3.13      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $18,000.00
         Emily Laue                                                          O Contingent
         c/o Shuck Law, LLC                                                  o Unliquidated
         208 E. 25th Street                                                  O Disputed
         Vancouver, WA 98663
                                                                             Basis for the claim:    Settlement Agreement
          Date(s) debt was incurred _
          Last 4 digits of account number_                                   Is the claim subject to offset? • No 0 Yes


3.14      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim Is: Check all that apply.               Unknown
         Geico Casualty Company                                              0 Contingent
         2280 North Greenville Ave.                                          o Unliquidated
         Richardson, TX 75082                                                0 Disputed
          Date(s) debt was incurred _                                        Basis for the claim:    Insurance
          Last 4 digits of account number       4119
                                                                             Is the claim subject to offset? • No 0 Yes

3.15      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim Is: Check all that apply .                 $270.00
         GlobalOne Filings, Inc.                                             0 Contingent
         3451 Via Montebello                                                 o Unliquidated
         Unit 192-410                                                        O Disputed
         Carlsbad, CA 92009
                                                                             Basis for the claim:    SEC Filing Services
          Date(s) debt was incurred      September 2020
                                                                             Is the claim subject to offset?      No 0 Yes
          Last 4 digits of account number_

3.16      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply .                 $906.00
          Globex Transfer LLC                                                0 Contingent
          780 Blvd., Suite 202                                               o Unliquidated
          Deltona, FL 32725                                                  0 Disputed
          Date(s) debt was incurred _                                        Basis for the claim:    Registered Agent Fee
          Last 4 digits of account number_
                                                                             Is the claim subject to offset?      No 0 Yes


3.17      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          lndiva Advisors                                                    O Contingent
          3571 E. Sunset Rd., Suite 206                                      o Unliquidated
          Las Vegas, NV 89120                                                0 Disputed
          Date(s) debt was incurred      November 2020                       Basis for the claim:    Professional Services
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? • No 0 Yes


3.18      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $159,000.00
          KCSA Strategic Communications                                      O Contingent
          420 Fifth Avenue, 3rd Floor                                        o Unliquidated
          New York, NY 10018                                                 •   Disputed
          Date(s) debt was incurred      June 2019
                                                                             Basis for the claim:    Shareholder relations work
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? • No 0 Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 7

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                         Entered 12/17/20 16:48:58                               Page 12 of 19

 Debtor       GL Brands, Inc.                                                                           Case number Or known)
              Name

 3.19      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,482.00
          Kleinberg, Kaplan, Wolff & Cohen PC                                 0 Contingent
          551 Fifth Avenue                                                    o Unliquidated
          18th Floor
                                                                              0 Disputed
          New York, NY 10176
                                                                              Basis for the claim:    Professional fees
          Date(s) debt was incurred      May 2019
          Last 4 digits of account number _                                   Is the claim subject to offset? II No     0 Yes

 3.20     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply .               $6,000.00
          KSW Group LLC                                                       0 Contingent
          1914 E. 9400 S, Suite 319                                               Unliquidated
          Sandy, UT 84093
                                                                              •   Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Professional Fees
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? III No    0 Yes

 3.21     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim Is: Check all that apply.                $4,290.85
          Marketing Completion Fund, Inc.                                     0 Contingent
          204 West Spear Street #3761                                             Unliquidated
          Carson City, NV 89703
                                                                              •   Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Professional Services
          Last 4 digits of account number_
                                                                              Is the claim subject to offset? • No      0 Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $17,907.19
          McLetchie Law                                                       0 Contingent
          701 E. Bridger Avenue                                                   Unliquidated
          Suite 520                                                           0 Disputed
          Las Vegas, NV 89101
                                                                              Basis for the claim:    Professional Fees
          Date(s) debt was incurred      February 2019
          Last 4 digits of account number _                                   Is the claim subject to offset?      No   0 Yes

   23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000,000.00
          MCP Wellness II LP                                                  0 Contingent
          641 Lexington Avenue                                                0 Unliquidated
          18th Floor                                                          0 Disputed
          New York, NY 10022
                                                                             Basis for the claim:    Convertible Note
          Date(s) debt was incurred      November 2019
          Last 4 digits of account number _                                  Is the claim subject to offset? II No      0 Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply .                $1,052.43
          New Jersey Division of Taxation                                    0 Contingent
          PO Box 666                                                              Unliquidated
          Trenton, NJ 08646-0666                                             0 Disputed
          Date(s) debt was incurred      2018-2019                           Basis for the claim:    Sales Tax
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? U No       0 Yes

3.25      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,000.00
          Newlee LLC                                                         0 Contingent
          6387 Camp Bowie                                                         Unliquidated
          Suite 317                                                          0 Disputed
          Fort Worth, TX 76116
                                                                             Basis for the claim:    Professional Fees
          Date(s) debt was incurred      November 2020
          Last 4 digits of account number _                                  Is the claim subject to offset? •No        0 Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 7

Software Copyright (Cl 1995-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                          Entered 12/17/20 16:48:58                            Page 13 of 19

 Debtor      GL Brands, Inc.                                                                          Case number (if known)
             Name

3.26
        I Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.          $2,000,000.00
          Ngoc Quang "Daniel" Nguyen                                             Contingent
          10107 Wittenburg Way                                                   Unliquidated
          Cocoa Beach, FL 32932                                              El Disputed
          Date(s) debt was incurred      5.31.2019                           Basis for the claim:   Employment Agreement
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? 1. No         Yes


3.27      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $532.21
          NY State-Dept. of Taxation & Finance                               12 Contingent
          575 Boices Lane                                                    o Unliquidated
          Clarksville, NY 12041-1083                                         0 Disputed
          Date(s) debt was incurred      2018-2019                           Basis for the claim:   Sales Taxes
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?        No   0 Yes

3.28      NonprIority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,500.00
          OTC Market Group                                                   D Contingent
          300 Vesey Street, 12th Floor                                       0 Unliquidated
          New York, NY 10282                                                 0 Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:   Stock Market Trading Fees
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?        No   0 Yes

3.29      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,550.00
          Post Launch                                                        0 Contingent
          8020 W. Sahara 3260                                                O Unliquidated
          Las Vegas, NV 89117                                                •   Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? U No        0 Yes

3.30      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim Is: Check all that apply.                     $1.00
          Richard A. Bolandz                                                     Contingent
          190 Webster Way                                                        Unliquidated
          Henderson, NV 89074                                                ▪ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Settlement
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?        No   0 Yes

3.31      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim Is: Check all that apply.                     $0.00
          SBA                                                                0 Contingent
          First Federal Bank                                                     Unliquidated
          4705 US Hwy 90W                                                    0 Disputed
          Lake City, FL 32055
                                                                             Basis for the claim:   PPP Loan for $611,000
          Date(s) debt was incurred      2020
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? El No       0 Yes

3.32      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                      $0.00
          Sunset Park Properties, LLC                                        0 Contingent
          PO Box 365376                                                          Unliquidated
          Henderson, NV 89044                                                0 Disputed
          Date(s) debt was incurred _                                        Basis for the claim:    Office Lease
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?   MI   No   0 Yes




Official Form 206 E/F                                         Schedule EIF: Creditors Who Have Unsecured Claims                                                  Page 5 of 7

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                         Entered 12/17/20 16:48:58                              Page 14 of 19

 Debtor       GL Brands, Inc.                                                                          Case number ( if known)
              Name

 3.33      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $529.06
           Tennessee Dept. of Revenue                                         0 Contingent
           Andrew Jackson State Office Bldg.                                  O   Unliquidated
           500 Deaderick Street                                               0 Disputed
           Nashville, TN 37242
                                                                              Basis for the claim:   Sales Tax
           Date(s) debt was Incurred      2018-2019
           Last 4 digits of account number_                                   Is the claim subject to offset? • No      0 Yes

 3.34      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check an that apply.                $2,489.00
           The Hartford                                                       0 Contingent
           3000 Internet Blvd. #600                                               Unliquidated
           Frisco, TX                                                         0 Disputed
           Date(s) debt was incurred     4/2019
                                                                              Basis for the claim:   Insurance Premium
           Last 4 digits of account number    9936
                                                                              Is the claim subject to offset?     No   0 Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $25,150.00
           The Protocol                                                       0 Contingent
           99 A Court Street                                                  0 Unliquidated
           Plymouth, MA 02360                                                 0 Disputed
           Date(s) debt was incurred     10/2020                              Basis for the claim:   Judgment
           Last 4 digits of account number_
                                                                              Is the claim subject to offset? El No    0 Yes

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $9,161.65
           Tonkon Torp LLP                                                    0 Contingent
           1600 Pioneer Tower                                                 0 Unliquidated
           888 SW 5th Ave., Suite 1600                                        0 Disputed
           Portland, OR 97204 .
                                                                             Basis for the claim:    Professional Fees
           Date(s) debt was incurred     2/2019
           Last 4 digits of account number_                                  Is the claim subject to offset? III No    0 Yes

 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $10,000.00
           TradeCraft Origin                                                  0 Contingent
           2929 West Bayshore Court                                               Unliquidated
           Tampa, FL 33611                                                   0 Disputed
           Date(s) debt was incurred     1012020                             Basis for the claim:    Brokerage Fee
           Last 4 digits of account number _
                                                                             Is the claim subject to offset?      No   0 Yes

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim Is: Check all that apply.                $1,363.00
           Travelers                                                         0 Contingent
           PO Box 660317                                                     o Unliquidated
           Dallas, TX 75266-0317                                             0 Disputed
           Date(s) debt was incurred     2018                                Basis for the claim:    Insurance
           Last 4 digits of account number      2195
                                                                             Is the claim subject to offset? III No    0 Yes

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $155.00
           Voice Plus                                                        0 Contingent
           2505 Anthem Village Dr. E-190                                     0 Unliquidated
           Henderson, NV 89052                                               0 Disputed
           Date(s) debt was incurred     12/2020                             Basis for the claim:    Telephone Service
           Last 4 digits of account number _
                                                                             Is the claim subject to offset?      No   0 Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 EiF                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                      Entered 12/17/20 16:48:58                        Page 15 of 19

 Debtor       GL Brands, Inc.                                                                     Case number       known)
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1       Steve Clark
           Brennan & Clark, Ltd.                                                                 Line     3.34                                   1169
           721 E. Madison, Suite 200
           Villa Park, IL 60181                                                                  0 Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.                                 0.00
 5b. Total claims from Part 2                                                                       5b. + $                    11,430,206.01
 5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                           5c.                           11,430,206.01




Official Form 206 EJF                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                                Entered 12/17/20 16:48:58                       Page 16 of 19

 Fill in this information to identify the case:

 Debtor name         GL Brands, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                ID Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
        EI No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      • Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A1B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                 State the term remaining                                            Alexandro Frias
                                                                                     14503 Islip Circle
              List the contract number of any                                        Apt. 12107
                    government contract                                              Fort Worth, TX 76155



 2.2.        State what the contract or                   Retainer Agreement for
             lease is for and the nature of               IT Services
             the debtor's interest

                 State the term remaining                 3.31.2021
                                                                                     Bemeir, LLC
              List the contract number of any                                        159 20th Street, Suite 1B
                    government contract                                              Brooklyn, NY 11232



2.3.         State what the contract or                  Employment
             lease is for and the nature of              Agreement
             the debtor's interest

                 State the term remaining
                                                                                     Brian D. Moon
              List the contract number of any                                        2017 Hillcrest Street
                    government contract                                              Fort Worth, TX 76107



2.4.         State what the contract or                  Employment
             lease is for and the nature of              Agreement
             the debtor's interest

                 State the term remaining
                                                                                     Carlos Frias
              List the contract number of any                                        1609 Raton Drive
                    government contract                                              Arlington, TX 76018




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - wwwbestcase.com                                                                           Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                               Entered 12/17/20 16:48:58            Page 17 of 19
 Debtor 1 GL Brands, Inc.                                                                    Case number (if known)
              Feat Name                Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                    Office Lease in
             lease is for and the nature of                Addison, TX
             the debtor's interest
                                                                                     Dillon Buhruhl
                  State the term remaining                                           Pillar Commercial
                                                                                     8222 Douglas Ave.
             List the contract number of any                                         Suite 200
                   government contract                                               Dallas, TX 75225



 2.6.        State what the contract or                   Product Sales
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                12/12/2021
                                                                                     GS Holistic, LLC
             List the contract number of any                                         644 N. Fuller Ave. #301
                   government contract                                               Los Angeles, CA 90036



 2.7.        State what the contract or                   Securities Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                    Mark Rosales
             List the contract number of any                                        2343 Brittan Ave.
                   government contract                                              San Carlos, CA 94070



 2.8.        State what the contract or                   Employment
             lease is for and the nature of               Agreement
             the debtor's interest

                 State the term remaining
                                                                                    Ngoc Quang "Daniel" Nguyen
             List the contract number of any                                        10107 Wittenburg Way
                   government contract                                              Cocoa Beach, FL 32932



2.9.         State what the contract or                   Manufacturing &
             lease is for and the nature of               Supply Agreement
             the debtor's interest

                 State the term remaining                 3.4.2021
                                                                                    Ontel Products Corporation
             List the contract number of any                                        21 Law Dr.
                   government contract                                              Fairfield, NJ 07004



2.10.        State what the contract or                   Lease Agreement
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                           Sunset Park Properties, LLC
                                                                                    PO Box 365376
             List the contract number of any                                        N. Las Vegas, NV 89044
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
           Case 20-43800-elm11 Doc 2 Filed 12/17/20                                Entered 12/17/20 16:48:58            Page 18 of 19
 Debtor 1 GL Brands, Inc.                                                                    Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


2.11.        State what the contract or                   Revised Green Lotus /
             lease is for and the nature of               TCO GTM & Perforance
             the debtors interest                         Terms

                 State the term remaining                 January 31, 2021

             List the contract number of any                                         TradeC raft Origin
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 3 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 20-43800-elm11 Doc 2 Filed 12/17/20                             Entered 12/17/20 16:48:58                Page 19 of 19
 Fill in this information to identify the case:

 Debtor name         GL Brands, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                          ID Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 o No. Check this box and submit this form to the court with the debtors other schedules. Nothing else needs to be reported on this form.
 • Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                         Column 2: Creditor




             Name                              Mailing Address                                 Name                            Check all schedules
                                                                                                                               that apply:

    2.1      B&B Aesthetics                    PO Box 470458                                   Merida Capital                  • D 2.1
             Labs, LLC                         3101 West 6th Street                            Partners ll LP                  ▪ E/F
                                               Fort Worth, TX 76147-9998
                                                                                                                               DG




    2.2      ECS Labs, LLC                     PO Box 470458                                   Merida Capital                  • D 2.1
                                               3101 West 6th Street                            Partners ll LP                  o E/F
                                               Fort Worth, TX 76147-9998
                                                                                                                                  G




    2.3      Leafceauticals,                   PO Box 470458                                   Merida Capital                  • D 2.1
             inc.                              3101 West 6th Street                            Partners ll LP                  o E/F
                                               Fort Worth, TX 76147-9998
                                                                                                                                 G




    2.4 The Texas                              PO Box 470458                                   Merida Capital                  • D 2.1
         Wellness Center,                      3101 West 6th Street                            Partners II LP                  o E/F
         LLC                                   Fort Worth, TX 76147-9998
                                                                                                                               0G




Official Form 206H                                                         Schedule H: Your Codebtors                                       Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
